              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:14 cr 08-1


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )           ORDER
                                            )
SCOTT BRADDOCK,                             )
                                            )
                  Defendant.                )
____________________________________        )


      THIS MATTER is before the undersigned pursuant to a Motion to Dismiss

Bill of Information as to Defendant Braddock (#74). In the motion, Thomas M.

Kent, Assistant United States Attorney moves to dismiss charges in file 1:14cr08

as to the Defendant Scott Braddock. Counsel for Defendant has been consulted

by the Assistant United States Attorney and counsel for Defendant has advised he

does not object to the Government’s motion.       For good cause shown in the

motion, the motion will be allowed.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Dismiss Bill of

Information as to Defendant Braddock (#74) is hereby ALLOWED and the

charges against Defendant Braddock are hereby dismissed.




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                             Signed: October 14, 2014




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